Case 2:04-Cv-02409-.]PI\/|-tmp Document 8 Filed 05/04/05 Page 1 of 2 Page|D 3

IN THE UNITED STATES DlsTRlCT CoUR'T _
FoR THE WESTERN I)ISTRICT oF TENN}+_;§S_EI§: v k g \_

 
 

MEMPHIS DIVISION `“ ‘
"…ii'\.\. i's. i. L,’i ri'i"\'i`;;,. ,
RODERICK KELLY ) Civil No. 04-2409§1¥11_<, U.S. FJZS 1551
T.F\""D` \.-.:F' \n\lé, {‘f`t§[v\. i*‘.lif.“
Defendant-Petitioncr, ) Crim. No. 99-200071,_99-200072
v. ) Judge Julia S. Gibbons
UNITED STATES OF AMERICA, )
Plaintiff-Respondent. )

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ORDER

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Be it remembered, that the foregoing motion for appearance of counsel Pro Hoc Vice for

Attorney Matthew M. Robinson, on behalf of the Petitioner Roderick Kelly Was presented to the

Court on q day of H[N\T/ , 2005 and it is hereby ORDERED that the Motion is
here& GRANTED)/ DENIED.
Signed and entered on this q day of MA;J , 2005.
\ ` § )
/Q¢\Q m wit
@ab]e Judge Presiding

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
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May ]3, 2005 to the parties listed.

 

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Honorable J on McCalla
US DISTRICT COURT

